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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF UTAH, CENTRAL DIVISION


 S.H. and J.H.,

                        Plaintiffs,                   ORDER

 v.                                                   Case No. 2:22-cv-552-TC

 CIGNA HEALTH AND LIFE                                Judge Tena Campbell
 INSURANCE CO.; CIGNA
 BEHAVIORAL HEALTH, the
 LOCKHEED MARTIN CORPORATION;
 and the LOCKHEED MARTIN
 CORPORATION MEDICAL
 BENEFITS PLAN,

                        Defendants.


       On December 8, 2023, the court granted the Plaintiffs’ motion for summary judgment in

part and denied the Defendants’ motion for summary judgment. (See Mem. Decision & Order,

ECF No. 41.) Simultaneously, the court remanded the matter to the Defendants for further

consideration consistent with the court’s decision and order. (Id. at 16.)

       Based on the court’s order (ECF No. 41), the Clerk of Court is directed to administratively

close this case. The case may be reopened upon motion by any party after the completion of the

review on remand.

       SO ORDERED this 23rd day of May, 2024.

                                                      BY THE COURT:


                                                      _________________________
                                                      Tena Campbell
                                                      United States District Judge


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